 

Case 2:22-cr-20504-PDB-DRG ECF No.1, PagelD.1 Filed 10/05/22 Page 1 of 3 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:22-cr-20504
UNITED STATES OF AMERICA, Judge: Borman, Paul D.
MJ: Grand, David R.
Filed: 10-05-2022

Plaintiff, INDI USA VS SEALED MATTER (DP)

VS. Violations:
18 U.S.C. § 2339B(a)(1)
AWS MOHAMMED NASER, 18 U.S.C. § 922(g)(1)
a/k/a, MuslimX1,
a/k/a, ISxxxIS,

Defendant.

 

INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
18 U.S.C. § 2339B(a)(1)

(ATTEMPTING TO PROVIDE MATERIAL SUPPORT AND RESOURCES TO A FOREIGN
TERRORIST ORGANIZATION)

On an exact date that is unknown, but by at least on or about December 2011,
through October 30, 2017, in the Eastern District of Michigan and elsewhere, AWS
MOHAMMED NASER, a United States national, did knowingly attempt to provide
material support and resources, including personnel (including himself) and
services, to a foreign terrorist organization, to wit: the Islamic State of Iraq and al-

Sham (“ISIS”), which, at all times relevant to this Indictment, was designated by the

United States Secretary of State as a foreign terrorist organization, knowing that ISIS

 
 

 

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was a designated foreign terrorist organization and that ISIS engages and has
engaged in terrorist activity and terrorism, all in violation of Title 18, United States
Code, Section 2339B(a)(1).

COUNT TWO

18 U.S.C. § 922(g)(1)
(FELON IN POSSESSION OF A DESTRUCTIVE DEVICE)

On or about October 30, 2017, in the Eastern District of Michigan, the
defendant, AWS MOHAMMED NASER, knowing that he had been convicted of at
least one crime punishable by imprisonment for a term exceeding one year, did
knowingly possess, in and affecting interstate commerce, a destructive device, more
specifically, any combination of parts either designed or intended for use in
converting any device into any destructive device and from which a destructive

device may be readily assembled, all in violation of Title 18, United States Code,

 

Section 922(g)(1).
THIS IS A TRUE BILL.
s/Grand Jury Foreperson
Grand Jury Foreperson

DAWN N. ISON

United States Attorney

s/Kevin Mulcahy s/Saima S. Mohsin

KEVIN MULCAHY SAIMA S. MOHSIN

Assistant United States Attorney Assistant United States Attorney

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Eastern District of Michigan

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

Companion Case Number:

 
   

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This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned: ~

Ll ves No AUSA's Initials: J

Case Title: USA v. AWS MOHAMMED NASER

 

 

 

 

County where offense occurred : Wayne

Check One: _—_]Felony [_IMisdemeanor LlPetty

V¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint (Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

Supetseditig. Case Information

Judge:

 

Superseding to Case No:

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

 

the above captioned case.
October 4, 2022 L. Hy,
Date Kevin Mulca

Assistant Unitéd States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277
Phone: (313) 226-9713

Fax:
E-Mail address: Kevin. Mulcahy@usdoj.gov

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
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